                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 05-0087
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 JOHNNY SLAUGHTER,                                  RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                Defendant.                             GUILTY PLEAS
                                  ____________________


                       I. INTRODUCTION AND BACKGROUND
        On November 3, 2005, a four-count Superseding Indictment was returned against
the defendant Johnny Slaughter. On December 9, 2005, the defendant appeared before
United States Magistrate Judge John A. Jarvey and entered pleas of guilty to Counts 2 and
3 of the Superseding Indictment. On December 9, 2005, Judge Jarvey filed a Report and
Recommendation in which he recommended that defendant’s guilty pleas be accepted. No
objections to Judge Jarvey's Report and Recommendation were filed.              The court,
therefore, undertakes the necessary review of Judge Jarvey's recommendation to accept
defendant’s pleas in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the

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             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of
December 9, 2005, and accepts defendant’s pleas of guilty in this case to Counts 2 and 3
of the Superseding Indictment.
      IT IS SO ORDERED.
      DATED this 28th day of December, 2005.




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